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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


 UNITED STATES OF AMERICA,                         )
           Plaintiff,                              )
                                                   )
        vs.                                        )   CAUSE NO. 1:21-cr-0177-JRS-DML
                                                   )
 CHANCELLOR KARLA,                                 )                         - 01
          Defendant.                               )



                     COURTROOM MINUTE FOR JULY 20, 2021
                  HONORABLE TIM A. BAKER, MAGISTRATE JUDGE

        Parties appear for an initial appearance on the Information filed on June 24, 2021.

 Defendant appeared in person and by FCD counsel Sam Ansell. Government represented by

 AUSA Kristina Korobov. USPO was not present.

        Financial affidavit previously approved.

        Charges, rights and penalties were reviewed and explained. Information was read into

 the record.

        Defendant signed Waiver of Indictment in open court.

        The case will now proceed under the Information as the operative charging instrument.

        Defendant waived formal arraignment.

        Pursuant to Rule 5(f) of the Federal Rules of Criminal Procedure, the court, with both

 the prosecutor and defense counsel present, confirms the government's obligation to disclose

 favorable evidence to the accused under Brady v. Maryland, 373 U.S. 83 (1963), and its

 progeny, and orders it to do so. Favorable evidence under Brady need only have some weight

 and includes both exculpatory and impeaching evidence. Failure to produce such evidence in a
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 timely manner may result in sanctions, including, but not limited to, adverse jury instructions,

 dismissal of charges, and contempt proceedings.
   Defendant waived his right to a detention hearing. [Dkt. 10.]

        Defendant remanded to the custody of the U.S. Marshals pending further proceedings

 before the court.


                                           _______________________________
              Date: 7/20/2021
                                            Tim A. Baker
                                            United States Magistrate Judge
                                            Southern District of Indiana




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